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THE UNITED STATES DISTRICT COURT OF DISTRICT OF COLUMBIA

D-U-N-S 611934746

UNITED STATES OF AMERICA. )
Delaware file# 2198946, DU-N-S #05271 4196 )
) Case no. 1:21-cr-0028-19
- )
) NOTICE: RESCISSION OF ALL SIGNATURES
JAMES BEEKS ) LET THIS BE FILED
by special invitation james-delisco: ) TT pes i

house and lineage of edwards )

 

NOTICE: RESCISSION OF ALL SIGNATURES
I, James-DeLisco Becks, man, child of God, , Union State Citizen as defined in Article 4 Section
2 of the Constitution for the united states of Amcrica., by special invitation and special appearance
to notify the court that I, beneficiary, hereby revoke, rescind, cancel all signatures from any and all
documents, orders, and or contracts implied or otherwise from all appointed attorneys, public
defenders, clerks, arresting oflicers, or any judicial officer in the matter of in the above-mentioned

case number and all case numbers in regard to JAMES BEEKS.

 

DISCLAIMER: The use of codes, statutes, rules, regulations, formats, and court citations on any document
past, present or future and filed with this court, by me, the living man, is only to notice that which is applicable
to government officials and is not intended nor shall it be construed that [ have couferred, submitted to, or
entered into any jurisdiction alluded to thereby,

Respectfully Submitted,

 
Case 1:21-cr-00028-APM Document 971 Filed 06/23/23 Page 2 of 2

NOTARY CERTIFICATE

Dated this (i day of the month of Pat _ Two Thousand and Twenty- (seus

All Rights Retained =
Bye) Comer DCO 6 a

FOR: JAMES DELISCO BEEKS ™

 
 
  

Grantor/Executor/Beneficiary of the Estate Trust

 

Anotary public or other officer completing this certificate
verifies only the identity of the individual who signed the
document to which this certificate is attached, and not the

State of Florida truthfulness, accuracy, or validity of thls document.

 

 

 

County of [ IS }SS.

Subscribed and sworn to (or affirm) before me on this U day of , VY née 20 Z 4 :
cD “hee (AD proved to me on the basis of satisfactory evidence to be

the man/woman who appeared before me. Abby dbl
(HEN

NOTARY’S SIGNATURE

; HALEY HAMILTON
< Notary Public - State of Florica

 

PLACE NOTARY SEAL IN ABOVE SPACE My Commission expires: Vly 4 | _f O2Y
